Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 1 of 68




        EXHIBIT F
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 2 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 3 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 4 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 5 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 6 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 7 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 8 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 9 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 10 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 11 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 12 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 13 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 14 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 15 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 16 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 17 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 18 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 19 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 20 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 21 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 22 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 23 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 24 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 25 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 26 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 27 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 28 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 29 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 30 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 31 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 32 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 33 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 34 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 35 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 36 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 37 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 38 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 39 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 40 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 41 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 42 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 43 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 44 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 45 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 46 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 47 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 48 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 49 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 50 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 51 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 52 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 53 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 54 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 55 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 56 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 57 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 58 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 59 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 60 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 61 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 62 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 63 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 64 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 65 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 66 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 67 of 68
Case 3:22-cv-08448-TKW-ZCB Document 1-6 Filed 06/17/22 Page 68 of 68
